     Case 2:95-cr-81146-PJD ECF No. 699, PageID.293 Filed 06/01/05 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


AIJALON WALLACE MCLITTLE, II,

          Plaintiff,

v.                                                     Civil Case No. 05-70841
                                                       Criminal Case No. 95-81146-14
UNITED STATES OF AMERICA,                              Honorable Patrick J. Duggan

          Defendant.
                                         /


              ORDER DENYING CERTIFICATE OF APPEALABILITY

                         At a session of said Court, held in the U.S.
                       District Courthouse, City of Detroit, County of
                       Wayne, State of Michigan, on JUNE 1, 2005.

          PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                             U.S. DISTRICT COURT JUDGE

       Petitioner Aijalon Wallace McLittle, II is a federal prisoner currently incarcerated at

the Federal Correctional Institution in Sheridan, Oregon. On October 28, 1997, Petitioner

filed a petition for writ of habeas corpus under 28 U.S.C. § 2255, raising ineffective

assistance of counsel, actual innocence, and misapplication of the Sentencing Guidelines.

This Court denied Petitioner’s § 2255 motion. McLittle v. United States, No. 97-75640 (E.D.

Mich. June 30, 1998). On March 4, 2005, Petitioner filed a successive petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2241, or in the alternative, pursuant to 28 U.S.C. §

2255 challenging his sentence. In an Opinion and Order dated April 12, 2005, this Court

denied Petitioner’s writ pursuant to § 2255 because Petitioner failed to obtain permission
  Case 2:95-cr-81146-PJD ECF No. 699, PageID.294 Filed 06/01/05 Page 2 of 3




from the court of appeals to file a successive petition. The Court also denied Petitioner’s writ

pursuant to § 2241 because the petition was not properly filed in the court having jurisdiction

over the prisoner’s custodian.

     On March 18, 2005, Petitioner filed a Motion for Release Pending Appeal alleging that

he is actually innocent. Because this Court found that it could not reach the merits of

Petitioner’s writ of habeas corpus pursuant to § 2255 and § 2241, this Court denied

Petitioner’s Motion for Release Pending Appeal in an Opinion and Order dated May 4, 2005.

     On May 26, 2005, Petitioner filed a motion seeking a certificate of appealability. For

the reasons set forth below, the petition shall be denied.

     In general, 28 U.S.C. § 2253 governs appeals of habeas corpus proceedings. Section

2253(a) provides that “[i]n a habeas corpus proceeding . . . before a district judge, the final

order shall be subject to review, on appeal, by the court of appeals for the circuit in which

the proceeding is held.” However, unless a certificate of appealability is issued, an appeal

may not be taken to the court of appeals from the final order in a habeas corpus proceeding.

     “A certificate of appealability may issue under paragraph (1) only if the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2);

see also Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997). “Where a

district court has rejected a petitioner’s constitutional claims on the merits, the showing

required to satisfy § 2253(c) is straightforward: The petitioner must demonstrate that

reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000). However, when a

petition is denied on procedural grounds, a somewhat different standard applies. In such

                                               2
  Case 2:95-cr-81146-PJD ECF No. 699, PageID.295 Filed 06/01/05 Page 3 of 3




cases, a certificate of appealability shall issue only “when the prisoner shows, at least, that

jurists of reason would find it debatable whether the petition states a valid claim of the denial

of a constitutional right and that jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.” Id. (emphasis added).

     As the Court does not believe that jurists of reason would find it debatable whether the

petition states a valid claim of the denial of a constitutional right and whether the Court’s

procedural ruling was correct, the Court shall deny the request for a certificate of

appealability.

     Accordingly,

     IT IS ORDERED that Petitioner’s motion for a certificate of appealability is

DENIED.




                                            s/PATRICK J. DUGGAN
                                            UNITED STATES DISTRICT JUDGE

Copies to:
Aijalon W. McLittle, II
Register No. 21050-039
FCI Sheridan
P.O. Box 5000
Sheridan, OR 97378-5000

William J. Sauget, AUSA




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